Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 1 of 65



                    UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF NEW YORK
        ----------------------------:
        WAYNE BALIGA,               :
                       Plaintiff,   : Case No.: 18-cv-11642

              v.                           :

        LINK MOTION INC., et al.,          : New York, New York

                           Defendants.     : June 27, 2023

        ----------------------------: CONFERENCE



                TRANSCRIPT OF STATUS CONFERENCE HEARING

                   BEFORE THE HONORABLE VALERIE FIGUEREDO

                       UNITED STATES MAGISTRATE JUDGE



        APPEARANCES:

        For Plaintiff:          GREENBERG TRAURIG, LLP
                                BY: Brian Straw, Esq.
                                77 W. Wacker Drive
                                Chicago, Illinois 60601


        For Defendant:          SEIDEN LAW, LLP
        Link Motion             BY: Amiad M. Kushner, Esq.
                                     Jen Blecher, Esq.
                                     Tony Zhang, Esq.
                                322 Eighth Avenue - Suite 1200
                                New York, New York 10001


        For Defendant           FELICELLO LAW, P.C.
        Vincent Wenyong         BY: Michael Maloney, Esq.
        Shi                          Roseanne Felicello, Esq.
                                     Kristie Blase, Esq.
                                366 Madison Avenue
                                New York, New York 10017


        Proceedings recorded by electronic sound recording;
        Transcript produced by transcription service

                    AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 2 of 65
                                                                      2



  1                THE DEPUTY CLERK:        Good afternoon.            This is

  2     the matter of Baliga, et al. v. Link Motion Inc.

  3     et al.; Case Number 18-cv-11642.             The Honorable

  4     Valerie Figueredo presiding.

  5                Counsel, please state your appearances for

  6     the record, starting with counsel for the receiver.

  7                MR. KUSHNER:       Good afternoon, Your Honor.

  8     My name is Amiad Kushner from Seiden Law.                 We

  9     represent Robert Seiden in his capacity as the

 10     receiver, and with me are my colleagues from

 11     Seiden Law.        To my right is Jen Blecher.          To my left

 12     is Tony Zhang.        And I just want to note for the

 13     record that Steven Seiden from the receiver's office

 14     is watching in the galley.

 15                THE COURT:      Good afternoon, everyone.

 16                MR. MALONEY:       Good afternoon, Your Honor.

 17     This is Michael Maloney from Felicello Law P.C. on

 18     behalf of defendant, Vincent Wenyong Shi.                 And with

 19     me are my colleagues, Roseanne Felicello and Kristie

 20     Blase.

 21                THE COURT:      Good afternoon.

 22                MR. MALONEY:       Thank you.

 23                MR. STRAW:      Good afternoon, Your Honor.

 24     Brian Straw on behalf of plaintiff, Wayne Baliga.

 25                THE COURT:      Good afternoon, Mr. Straw.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 3 of 65
                                                                     3



  1     You're welcome to stay there, but if you want to

  2     take a seat, that's also cool too.             It's up to you.

  3                MR. STRAW:     I'm happy standing.          Thank you.

  4                THE COURT:     Okay.     Perfect.

  5                I usually don't use the computer during

  6     arguments or anything, but because there were so

  7     many voluminous appendixes to the various letters, I

  8     printed the letters, but, obviously, have tried not

  9     to kill unnecessary trees, so I'm just going to log

 10     into the computer.

 11                But in the meantime, the reason I asked for

 12     the conference on this was, you know, this case has

 13     been going on for a while.          And at least for a good

 14     portion of it, it was under Magistrate Judge Freeman

 15     and, obviously, Judge Marrero.           But this is all to

 16     say that a lot of what the parties argued in their

 17     accounting papers was, you know, not something that

 18     I had any familiarity with, so there were just a lot

 19     of questions that sort of arose.

 20                Mr. Kushner, I'm happy to hear you out.                I

 21     did have -- there was one topic that I really wanted

 22     to flesh out that I had questions on, so I can go

 23     ahead and start the discussion there, and then if

 24     there's -- you know, I'm sure that will organically

 25     lead to other questions.          And then if there's


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 4 of 65
                                                                      4



  1     anything you think would be helpful to add on,

  2     I'm -- you know, I'm happy to hear everyone out.

  3     But the first thing that I was curious about was --

  4     you know, we looked at all the cases you cited for

  5     piercing the corporate veil.           And, again, this seems

  6     to be something that arises in the context where a

  7     party's raising it as a cross claim or a claim in

  8     the complaint or a counterclaim.             This seems to --

  9     and, again, correct me if I'm wrong, but it seems

 10     this is coming up not in the complaint, but in terms

 11     of, you know, this motion for an accounting of the

 12     expenses.

 13                 Do you have any case that would allow us

 14     to, I guess, look at the factors for piercing the

 15     corporate veil where the allegation is not -- you

 16     know, I -- an accounting is a remedy, right?                  It's a

 17     type of relief.      And it struck me as, from the cases

 18     that you cite, that for piercing the corporate veil,

 19     you're really looking at needing to have asserted a

 20     claim.

 21                 That was long winded and I'm sorry.               I

 22     apologize.

 23                 MR. KUSHNER:     No.    Your Honor, thank you.

 24     No, I understand the question.

 25                 I think it's true that, as a general


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 5 of 65
                                                                     5



  1     matter, what we're asking for is not the typical

  2     fact pattern.      Often, receivers are brought in and

  3     they have funding and they assert pleadings in which

  4     piercing the corporate veil is one of the requested

  5     forms of relief.       That's not where we are.           So we

  6     have not cited and we're not aware of a case in

  7     which a court pierced the corporate veil in the

  8     context of an accounting without there have --

  9     without there being a prior pleading to which the

 10     receiver can refer to.

 11                That said, doesn't mean that you can't

 12     grant that relief.       I think that you may get to the

 13     relief we're seeking in two ways.            One, you could

 14     find that, notwithstanding the fact that the

 15     receiver has not actually brought a pleading

 16     asserting a claim for piercing the corporate veil

 17     because this is an accounting.           And one of the

 18     functions of the Court, in determining or in

 19     approving an accounting, is figuring out are the

 20     revenues and expenses accounted for properly.                 And

 21     if they're -- one of the parties has caused the

 22     receiver to expend funds more than would otherwise

 23     be required under the circumstances, or, perhaps, as

 24     we allege, one of the parties has looted the estate

 25     in a manner that frustrates the receiver's


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 6 of 65
                                                                      6



  1     activities, we think the Court, in the context of an

  2     accounting, can order the party that looted the

  3     funds of the estate and frustrated the receiver from

  4     performing his duties.        We think that's within the

  5     authority of the Court.           But even if --

  6                 THE COURT:     But can I just ask you a

  7     question?     When you say it's "within the authority

  8     of the Court," is that because there's some -- I

  9     guess it would have to be as a matter of equity, but

 10     is there some case or something you could point me

 11     to to support that?

 12                 MR. KUSHNER:     The -- I don't know the case

 13     right now, Your Honor.        You know, we could search

 14     for such a case.       We certainly have cited cases

 15     piercing the corporate veil in the receivership

 16     context.     But Your Honor is correct that those --

 17     you know, the Fannie Mae case, for example, involved

 18     a pleading.

 19                 So, sitting here today, I'm not aware of a

 20     case that pierced the corporate veil without an

 21     actual claim asserted in a pleading for piercing the

 22     corporate veil, but I don't think that that -- the

 23     fact that there's no case law precedent standing

 24     alone is a bar to such a finding, but...

 25                 THE COURT:     But let me ask you even more


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 7 of 65
                                                                     7



  1     broadly, like, because it sounded like you were

  2     saying -- you know, putting aside the corporate

  3     veil, it sounded like you were potentially making

  4     some type of, like, equitable remedy argument that

  5     you thought it could potentially be in the Court's

  6     equitable powers to grant this type of remedy.

  7                So even if you don't have a case on -- that

  8     pierces the corporate veil, is there any other type

  9     of case in this accounting sphere where potentially

 10     someone got the damages -- the unrecoverable amount

 11     that had -- once you showed it's been looted or

 12     mismanaged or it frustrated the efforts of the

 13     receiver that has -- that somehow there's an

 14     individual who's gotten personal liability aside

 15     from the corporate -- the piercing the corporate

 16     veil context?

 17                MR. KUSHNER:      Your Honor is correct that we

 18     are relying on principles of equity.               And we believe

 19     that the Court, sitting in equity, has the authority

 20     to effectively pierce the corporate veil, but I

 21     don't have a case right now.          We can look for such a

 22     case and submit it to Your Honor.

 23                But separate from that, Your Honor, we

 24     believe that, alternatively, the Court has the

 25     authority, the inherent authority, to enforce its


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 8 of 65
                                                                      8



  1     own orders.        In this case, the Court issued the

  2     receivership order.        It ordered that the company be

  3     turned over to the receiver, including the books and

  4     records, control of all the company's subsidiaries.

  5     And we've provided you with a lot of evidence that

  6     Mr. Shi has frustrated the Court's receivership

  7     order.

  8                 Just take one example.          The -- all this

  9     paper that we've expended on, the missing

 10     $89 million, we allege that Shi effectively looted

 11     that money from the company.           But critically, Your

 12     Honor, it was done after the receivership order was

 13     issued by the Court.        Talking about mid- to late

 14     2019.    So if Your Honor finds, for example, that, in

 15     violation of the receivership order, the defendant,

 16     Shi, looted the company and stole tens of millions

 17     of dollars, Your Honor has the inherent authority,

 18     in, sort of, determining a remedy for that

 19     violation, to impose some type of liability upon

 20     Mr. Shi.

 21                 THE COURT:     You're almost arguing for a

 22     sanction, then?

 23                 MR. KUSHNER:      Yes.

 24                 THE COURT:     Maybe -- so I recognize this is

 25     a little bit unethical, but since we're just focused


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 9 of 65
                                                                     9



  1     on this topic of the ability to provide this type of

  2     relief, the piercing the corporate veil, or

  3     potentially something more loosely described as a

  4     sanction, before we switch gears to talk about some

  5     of the other issues, I was going to just maybe see

  6     if -- Mr. Maloney, if you wanted to respond.                 We

  7     could address this topic as -- we can go back and

  8     forth as often as necessary, but then we could

  9     switch to some other topics.          This is -- this itself

 10     is its own discrete issue that I think we could just

 11     resolve first and then move on.

 12                MR. MALONEY:      Yes.    Thank you, Your Honor.

 13                As Mr. Kushner admitted, you know, there's

 14     not really a case that we're aware of that supports

 15     the position that a piercing claim can be made in

 16     this context without the existence of a pleading.

 17                With respect to the argument that the Court

 18     has an inherent equitable power to award this

 19     relief, the cases that we've cited in our papers in

 20     the context of an accounting for a receivership say

 21     that the Court has the equitable power to charge the

 22     plaintiff with the cost of the unfunded

 23     receivership.      We've not seen a case saying the

 24     Court has the equitable power to, out of the blue,

 25     pierce a corporate veil to hold another person


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 10 of 10
                                                                      65



   1    liable for cost of the receivership, and we don't

   2    think the Court should make new law on that point.

   3                The other thing here is that there's a

   4    question of fundamental fairness, right.                If this is

   5    a claim that the receiver wants to bring now at this

   6    stage in the case -- this first came up, you know, I

   7    think it was in January of this year.               You know,

   8    it's been five years into the case, right.                 Why

   9    wasn't this brought earlier?           Dr. Shi should have

 10     had an opportunity to address this issue earlier in

 11     the case if the receiver wanted to pursue this sort

 12     of relief.     That's the purpose of the process of

 13     pleading.     So Dr. Shi's been deprived of that

 14     opportunity.

 15                 The other issue here is that -- there's a

 16     few other issues that we want to mention.                First of

 17     all, we think the piercing claim that the receiver

 18     is trying to make here is not available under Cayman

 19     law.    LKM is a Cayman company, and so, therefore,

 20     any piercing claim must be governed by Cayman law

 21     under the internal affairs doctrine.               And as we

 22     mentioned in our brief filed at Docket 393, this

 23     type of piercing is not available under Cayman law.

 24                 THE COURT:     Is there really an -- so you

 25     seem to suggest there is really a difference between


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 11 of 11
                                                                       65



   1    Cayman Islands law and New York law on this.

   2                MR. MALONEY:     Yes.     Yes, Your Honor.

   3                THE COURT:     And the one case you cite to is

   4    what you want to rely on?           I know in your brief

   5    there's a case from --

   6                MR. MALONEY:     We've cited a case,

   7    Hurstwood, from the UK.           As you, I'm sure, have

   8    read, Cayman Islands is an English law jurisdiction.

   9    They tend to look to decisions in other English

 10     civil law jurisdictions.           We found this Hurstwood

 11     case.    We're happy to do some more research to see

 12     if we can find some other cases directly on point,

 13     but we think the Hurstwood case and the other

 14     arguments we've made here are sufficient to make our

 15     point that this type of piercing is not available

 16     under Cayman Islands law.

 17                 The other issue is that the receiver cannot

 18     plead the requisite elements, even under New York

 19     law.    We've addressed that in the brief.               I won't go

 20     into that in detail.

 21                 I think also we should talk about the

 22     fundamental factual contentions that the receiver

 23     makes here, which is this whole looting claim.                      And

 24     I -- you know, this has been a contention that the

 25     receiver and plaintiff have made throughout the


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23     Page 12 of 12
                                                                        65



   1    case, but fundamentally speaking, their records do

   2    not show any transfers to Dr. Shi.                 They don't show

   3    any transfers to any company controlled by Dr. Shi.

   4    The person in control of these accounts and

   5    companies at the period in time in question was

   6    Xu Zemin.     It's our contention that Mr. Xu had his

   7    own independent interest in protecting his legal

   8    rights as a legal representative of these companies.

   9                The other thing is that the receiver and

 10     Guo's story keeps changing on this point.                  You know,

 11     as late as June 1st, Guo submitted a declaration in

 12     which he claimed that Dr. Shi continued to control

 13     NQ Mobile.     And after you, Your Honor, issued your

 14     June 13th order requesting follow-up, Guo submitted

 15     a declaration on the 23rd in which he now admits for

 16     the first time that he has controlled all the

 17     "onshore entities" since 2019.            The judicial

 18     opinions that Mr. Guo submitted also support this

 19     fact.

 20                 In some of the receiver's earlier

 21     submissions in this case, they made statements that

 22     are inconsistent with what they -- they're making

 23     now.    You know, on July 19, 2021 at Docket 239, page

 24     11, Guo claimed that the funds at issue were

 25     transferred in 29 separate transfers between May to


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23    Page 13 of 13
                                                                       65



   1    November 2019.       In the filing yesterday at

   2    Docket 446, they claimed that 90 percent of the

   3    funds were transferred immediately.

   4                And if we dig down into the nitty-gritty

   5    details of what they're claiming, there's some

   6    really glaring inconsistencies.            For example, at

   7    Docket 161 is a copy of a July 17, 2020 letter from

   8    the receiver with attachments relating to these

   9    transactions.       The attachments are an excerpt of

 10     transactions in the account in question.                 It's not

 11     the full record, it's just an excerpt.                It's -- he

 12     provides a limited translation of certain

 13     transactions.

 14                 And in this document at ECF page 5 --

 15     again, this is Docket 161 -- the receiver provided a

 16     chart of what he claims to be the 29 transactions

 17     that represent looting, but if you actually look at

 18     the bank record, there are transactions that come

 19     back into the account.        So Guo selected, he

 20     cherrypicked transactions and added them up and

 21     claims that they were looting, but he ignored

 22     transactions back into the account.                And if we look

 23     at -- let me find my citation here -- Docket 443-20,

 24     we have Guo's current recitation of his allegedly

 25     looting transactions.        He refers to the same excerpt


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23    Page 14 of 14
                                                                       65



   1    of the bank transactions.          He provides another

   2    chart, but this chart includes translations of

   3    transfers back into the account, but doesn't provide

   4    a sum of the net that he claims to have been

   5    "looted."

   6                You know, fundamentally, his submissions

   7    are inconsistent and contradictory.                There's no

   8    clear record or evidence showing that any of these

   9    funds ended up in Shi's hands.            There is a record

 10     showing that the accounts were pledged to China

 11     Merchants Bank as security for a loan, that it came

 12     due in -- as early as March of 2019.                And I think

 13     it's reasonable to submit to the Court that no bank

 14     anywhere would permit funds of this -- these amounts

 15     to be transferred out of these pledged accounts

 16     unless they're transferred for repayment of a loan.

 17                 THE COURT:     Well, let me just stop you

 18     right there because I hear your argument and -- but

 19     I think we have the fundamental problem that it

 20     seems like there's no law directly on point that

 21     would allow me to even get to the merits of whether

 22     we've shown adequately fraud or looting or some type

 23     of bad act by Shi.

 24                 So, I guess, on this, you know, I think if

 25     there's any other case law you want to point me to


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 15 of 15
                                                                      65



   1    that allows the piercing the corporate veil in a

   2    similar procedural posture or, alternatively, where

   3    the court has considered -- I'm going to call it a

   4    sanction -- if you want to try to make that inherent

   5    authority argument and posit this as a sanction, but

   6    I think, you know, I would -- for obvious reasons, I

   7    think I -- you -- I'm going to need to see something

   8    that allows me to do it.

   9                MR. KUSHNER:     A brief response on that.

 10     Actually, counsel for Shi just reminded me of

 11     something really important, which is that this

 12     Court, through Judge Freeman's report and

 13     recommendation, and Judge Marrero adopting her

 14     report and recommendation, found that if the

 15     plaintiff -- sorry -- if the receiver's actions

 16     after October 2020 didn't benefit the company, the

 17     Court could charge the expenses of the receivership

 18     to the plaintiff, Baliga.          One might say that

 19     there's no authority for that, either, but I think

 20     under the circumstances of the case, when you're

 21     dealing with an accounting, again, if the facts and

 22     circumstances arguably suggest that there's some

 23     party that has caused the receiver to incur a

 24     liability and somehow is at fault for that, then it

 25     would seem that there is an equitable principle that


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 16 of 16
                                                                      65



   1    allows the Court to impose liability where it may

   2    fall.    And it sounds like Judge Freeman and

   3    Judge Marrero had no issue with that in theory.

   4                THE COURT:     Are you referring to the order

   5    from March of 2022, her report and recommendation?

   6                MR. KUSHNER:     I don't recall the date in

   7    front of me, but it's the report and recommendation

   8    which found that the receivership should be

   9    dissolved pending an accounting.

 10                 THE COURT:     And you're saying that she

 11     found -- or she suggested that Baliga himself could

 12     be responsible for any expenses that were

 13     unnecessary or not for the benefit of Link Motion?

 14                 MR. KUSHNER:     Yes.    I don't have her exact

 15     words in front of me, but she did hold that,

 16     depending on whether or not the receiver's actions

 17     after October of 2020 benefited the company, Baliga

 18     could be held personally responsible.               But if the

 19     actions of the receiver benefited the company, then

 20     Link Motion itself would have to bear those

 21     expenses.

 22                 MR. MALONEY:     Your Honor, if I could

 23     respond to that single point.           Mr. Kushner is

 24     correct that Judge Freeman did find that if

 25     receiver's actions after October 5, 2020 were not


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 17 of 17
                                                                       65



   1    for the benefit of the receivership, the expenses of

   2    that, those activities, could be charged to the

   3    plaintiff.     And she cited federal case law to

   4    support that principle.           And it's our contention

   5    that there -- the cases that Judge Freeman signed --

   6    cited there represent a line of case authority in

   7    U.S. law, and that's consistent with equitable law

   8    going back into ancient times with respect to

   9    receiverships.       That theory of authority stands for

 10     the proposition that the costs of the

 11     receivership -- the question is whether the costs of

 12     the receivership are borne by the estate, the

 13     company or the person, the party who requested that

 14     the Court appoint the receiver; i.e., the plaintiff

 15     in this case.       That authority does not stand for the

 16     proposition that the Court can assign the cost of

 17     the receivership to a third party or even a

 18     defendant.     And I am happy to brief that issue.

 19                 THE COURT:     No.     She -- it's at page 40 of

 20     her decision --

 21                 MR. MALONEY:     I believe it's that.

 22                 THE COURT:     -- where she cites a

 23     Ninth Circuit case --

 24                 MR. MALONEY:     Correct.

 25                 THE COURT:     That makes the point that the


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 18 of 18
                                                                      65



   1    court maintained the discretion to charge the

   2    receiver's expenses either to the corporation or to

   3    the party who wrongfully obtained the receiver's

   4    appointment.

   5                I think it sounds -- and, again, I'd be

   6    open if you wanted to submit a letter motion or

   7    brief this, but it sounds like, potentially, the

   8    avenue that you might want to consider is this idea

   9    of a sanction, although this is just -- this was the

 10     first time this was discussed.            But it sounds like

 11     the authority on the inherent discretion, at least

 12     with regards to Judge Freeman's order, sounds like

 13     it's potentially limited to either LKM or the party

 14     who wrongfully obtained the receiver's appointment.

 15                 Is there anything else either side wants to

 16     say on this?

 17                 MR. MALONEY:     Yes, there is, Your Honor.

 18     Can you give me a moment?          I'm just going to look

 19     through my notes here.

 20                 MR. STRAW:     I'd also like to interject for

 21     a moment.

 22                 THE COURT:     Oh, sure.

 23                 MR. STRAW:     At Docket 331, at page 19 --

 24     that's Judge Marrero's order accepting the report

 25     and recommendation -- you can see what he did on


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 19 of 19
                                                                       65



   1    this point.        And he notes that as to the period

   2    after October 5, 2020, expenses that the corporation

   3    would have had to incur had there been no receiver,

   4    and expenses that convert a genuine benefit upon the

   5    corporation should be charged to it.

   6                So I think that it's important as we

   7    proceed through the rest of this hearing that those

   8    expenses after October 5, 2020 under Judge Marrero's

   9    order, that either the corporation would have had to

 10     incur or that conferred a genuine benefit to the

 11     corporation should be charged to the corporation.

 12                 THE COURT:      But I guess I'm a bit confused.

 13     I guess I don't understand the point you're trying

 14     to make, in all honesty, because I thought the

 15     corporation had no money left, or LKM, right?

 16     There's no money to pay the -- it sounds like you

 17     recovered -- you're seeking somewhere around 3.9, I

 18     think, in expenses, or you had 3.9, and there's an

 19     unfunded difference there.

 20                 MR. KUSHNER:      It was an unfunded liability

 21     of just over 1 million at the time we submitted the

 22     accounting brief.

 23                 THE COURT:      So I'm a little confused as to

 24     what you mean by assigning them to the corporation

 25     because it sounds like that still wouldn't give them


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23     Page 20 of 20
                                                                        65



   1    a recovery of anything.

   2                MR. STRAW:     My point that I'm flagging is

   3    we're getting into that point where defendant, Shi,

   4    is saying it should be charged to Baliga.                  And I'm

   5    highlighting that, under the judge's order, it's

   6    only assignable to Baliga where it would not have

   7    arisen but for the continuation of the receiver's

   8    appointment.       And it had no -- the -- it -- the

   9    corporation -- and the corporation wouldn't have

 10     otherwise had to incur those expenses or there was

 11     no genuine benefit to the company.

 12                 THE COURT:     Right.    Yeah.         I think he was

 13     just pointing -- or I understood you to just be

 14     saying, if anyone should bear the cost here, it's

 15     definitely not Shi, who's, like, a third party.

 16     It's either the corporation or the person who --

 17     like, if we can show it -- wrongfully obtained the

 18     receiver.     But I don't think you were saying it

 19     would automatically go to Baliga.

 20                 MR. STRAW:     That --

 21                 THE COURT:     I think you were identifying

 22     the two parties under the case law that could

 23     potentially be held personally liable, LKM or

 24     Baliga, not necessarily that in this instance that

 25     should even happen.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23    Page 21 of 21
                                                                        65



   1                MR. MALONEY:     Correct.       Correct.

   2                THE COURT:     Okay.

   3                MR. MALONEY:     We do contend that Baliga

   4    should bear the cost, but, correct, we -- that's my

   5    contention.

   6                THE COURT:     Right.

   7                MR. KUSHNER:     Your Honor, Shi's not --

   8    just -- he's not a third party, obviously.                   I mean,

   9    he's a defendant in the case, and, obviously, we've

 10     alleged that he dominates Link Motion and has

 11     orchestrated all these -- all this misconduct.                       So

 12     we're going to look for case law either under the

 13     sanctions prong, or if there's something in the

 14     equitable universe, so to speak, we'll send it to

 15     you.    But he's --

 16                 THE COURT:     Feel free to just -- you can go

 17     as broad as you would like, but you'd have --

 18     anything you think could support what you would like

 19     here, basically.

 20                 MR. KUSHNER:     We will search and send you a

 21     supplemental submission on that.

 22                 THE COURT:     Okay.

 23                 MR. MALONEY:     Your Honor, one more point on

 24     the question of this shifting the cost of the

 25     receivership after October 5, 2020.                 As we


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23     Page 22 of 22
                                                                        65



   1    discussed, and as Your Honor recognized from

   2    Judge Freeman's report and recommendation, there is

   3    a line of cases that say that the expenses can be

   4    charged to the plaintiff or the party who wrongfully

   5    obtained the receivership.          In this case, the

   6    question is the actions of the receivership after

   7    October 5, 2020.

   8                I'd like to direct your -- the Court's

   9    attention to ECF page 97 of Docket 448-2.                  This was

 10     filed yesterday.       This document is a translation of

 11     a record of a wire transfer made by Mr. Guo, the

 12     receiver's agent in China, to Greenberg Traurig in

 13     the amount of 50,000 U.S. dollars.                 The records

 14     indicate that it happened in early November 2020,

 15     shortly after Baliga dropped his derivative claims

 16     and proceeded with direct claims.             And as is evident

 17     from Docket Entry 184, a few days later, on November

 18     11th, Greenberg Traurig substituted in as counsel

 19     for plaintiff, Baliga, in place of the Seiden Law

 20     firm.

 21                 So at this time, what we have here is Guo,

 22     an agent of the receiver, himself, an arm of the

 23     court, charged with protecting the interests of the

 24     company, paying the legal fees of a plaintiff suing

 25     the company for money damages.            We think this fact


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23     Page 23 of 23
                                                                        65



   1    is relevant to the question of who bears

   2    responsibility for the cost of receivership after

   3    October 5, 2020.

   4                THE COURT:     What -- it was 448-2.             And what

   5    was the specific page number that you referenced?

   6                MR. MALONEY:     This is ECF page 97 of

   7    Document 448-2 filed last evening.                 And the --

   8    this -- that page is the translation.                 The original

   9    appears at ECF page -- I apologize.                 I'm going to

 10     have to follow up with the -- that second ECF cite.

 11     The original is in the same document.                 It's --

 12     appears later in the document, and I'll follow up

 13     with that.     It's a little hard to read on my copy.

 14                 THE COURT:     Yeah, no worries.

 15                 Does this show when the wire transfer was

 16     actually sent?       Because I don't see a date on this.

 17                 MR. MALONEY:     So the original is a

 18     screenshot of a wire transfer record on a computer

 19     screen, and it appears in between documents that

 20     appear to be in chronological order.                 And it appears

 21     in between a document dated November 4, 2020 and a

 22     document dated -- let me -- I believe the next

 23     document was dated December 3, 2020.

 24                 THE COURT:     Mr. Kushner, do you -- are --

 25     do you know what the -- the wire transfer to


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 24 of 24
                                                                       65



   1    Greenberg Traurig, was that for legal fees?

   2                MR. KUSHNER:     This is the first time I'm

   3    hearing about this.        I don't know what that's for.

   4    We could look into it.

   5                THE COURT:     This was Exhibit 2 to your

   6    letter from last night.

   7                MR. MALONEY:     Your Honor, this is Exhibit B

   8    to the letter filed last evening at Docket 448.

   9    It's a -- it's one of the larger, voluminous ones.

 10                 THE COURT:     Yeah.     This is completely off

 11     topic, but one of the questions I did have was, at

 12     what point did the Seiden Law Group stop

 13     representing Baliga?

 14                 MR. KUSHNER:     It was around the time that

 15     the amended complaint was filed, I believe, in

 16     October of 2020.       So the complaint, as originally

 17     filed, was a derivative action, and then it was

 18     amended to remove derivative claims.                At that point,

 19     Mr. Baliga hired Greenberg Traurig, and Seiden Law

 20     stopped representing Mr. Baliga and represented the

 21     receiver's office only.

 22                 THE COURT:     Is there anything else you

 23     wanted to add, Mr. Maloney, on this, or...

 24                 MR. MALONEY:     On that point, I think I'm

 25     fine.    I also would like to submit some additional


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 25 of 25
                                                                       65



   1    case law on that issue.

   2                THE COURT:      On the -- on which issue?

   3                MR. MALONEY:      This is the issue of the

   4    authority of the Court to pierce the corporate veil

   5    under circumstances like this.

   6                THE COURT:      Oh, yes.     Yes.

   7                MR. MALONEY:      I know Your Honor has

   8    mentioned the -- this concept of sanctions.                  I mean,

   9    I also would like an opportunity to be heard on

 10     that, but it's hard to respond because no

 11     application has been made.

 12                 THE COURT:      Yes.    Yeah, no, on the concept

 13     of sanctions, which has literally come up today, you

 14     know, especially because this sounds like we're

 15     treading new ground here, and this is -- obviously

 16     has to go in an R&R to Judge Marrero, if you find

 17     authority that you want to make an argument around,

 18     I'm certainly going to give you, Mr. Maloney, time

 19     to respond.        Just because, otherwise, it's not to

 20     the benefit of Judge Marrero if I just rule without

 21     a complete fleshing out of this notion of sanctions

 22     because this isn't the typical context in which

 23     sanction -- or a sanctions-like argument would come

 24     up.

 25                 There's potentially -- I'm just trying to


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 26 of 26
                                                                      65



   1    think of an efficient way to get this resolved

   2    quickly, because this case has -- is -- you know,

   3    has been around for a while.

   4                One thing that seemed pretty

   5    straightforward from the briefing is I could

   6    potentially give you an answer as to the pre-2020,

   7    the post-2020 in terms of this argument that it

   8    wasn't -- the receiver wasn't diligent, that the

   9    efforts weren't for the benefit of the company, so

 10     everything raised in the briefs up to the corporate

 11     piercing.

 12                 I could potentially give you a decision on

 13     that and wait for briefing on, you know, whether you

 14     can try to personally seek this -- the difference

 15     that you're missing from Shi.           I don't know if

 16     that's an option that the parties would want,

 17     though.

 18                 MR. KUSHNER:     I think that makes sense

 19     because it would help, at least from the receiver's

 20     standpoint, to know what expenses are at issue and

 21     whether it makes sense to actually seek some kind of

 22     contribution from Mr. Shi.          I mean, if Your Honor

 23     finds that it's a de minimis amount, for example,

 24     that --

 25                 THE COURT:     Right.    It might not be worth


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 27 of 27
                                                                      65



   1    your time to -- related to -- so I don't know.

   2                Mr. Maloney, did you have a view on that?

   3                MR. MALONEY:     I also think that it may be

   4    useful to break this up into parts and resolve

   5    what's more easily resolvable now and then, you

   6    know, reserve the other parts for later.                I think

   7    the pre-October 5, 2020 expenses may be one of those

   8    issues that are susceptible to, sort of, an interim

   9    report and recommendation.

 10                 We also submit that the Court should

 11     consider an interim report and recommendation about

 12     return of control of the company.             The traditional

 13     standard when a receiver is discharged is that the

 14     receiver remains in office until the accounting is

 15     resolved.     We think the Court has the equitable

 16     power to return control earlier.             Judge Freeman

 17     found that the reason to continue the receivership

 18     ceased in October 5, 2020, you know, almost three

 19     years ago, and there really is no reason to continue

 20     the receivership for any further period of time.

 21                 I think also, if the Court is inclined to

 22     break this up into parts and to consider the

 23     pre-October 5, 2020 period, we think it would be

 24     important to know who paid the Seiden Group's legal

 25     fees when they were retained by Baliga to bring this


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23    Page 28 of 28
                                                                       65



   1    case.    We made a submission at Document 435.                It's

   2    our contention that Guo actually paid those fees, or

   3    that Guo retained the Seiden Group before this case

   4    was filed.     We think the revelation that Guo paid

   5    Greenberg Traurig's fees supports that contention,

   6    and so we think that's a relevant factual issue that

   7    should be fleshed out.

   8                THE COURT:     Mr. Kushner, did you have a

   9    response just to that?        It sounds like we're all

 10     maybe of the opinion that we should take this

 11     piecemeal, which I'm happy to do just to keep things

 12     moving along.       But this other notion that -- this

 13     idea of who paid your firm's legal fees, I don't

 14     know if you want to respond to that.

 15                 MR. KUSHNER:     Yeah, Your Honor, I don't

 16     think that discovery should be one-sided.                 We'd love

 17     to take Dr. Shi's deposition.           There are a lot of

 18     things that we'd like discovery on.                The notion that

 19     you're just going to open up the receiver's office

 20     to discovery without giving us access to things that

 21     we want and also at this very late stage, we would

 22     oppose that unless it's, sort of, reciprocal.

 23                 With respect to returning control of the

 24     company back to the board and taking it away from

 25     the receiver, Mr. Shi has repeatedly asked


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 29 of 29
                                                                       65



   1    Judge Marrero for that relief, and it's been

   2    repeatedly denied.        Judge Marrero has held that the

   3    receiver is going to remain in place until the

   4    accounting is completed.           Mr. Shi asked for control

   5    to be returned to the board sooner -- in other

   6    words, before the accounting is completed, and Judge

   7    Marrero has rejected that repeatedly.                So we

   8    would -- we don't think that -- we think that issue

   9    has already been resolved.

 10                 THE COURT:     Okay.     So why don't we do this,

 11     I will issue an R&R that addresses the

 12     reasonableness of the pre- and post-October 2020

 13     fees.     So addressing the issue of whether they

 14     were -- you know, the receiver was diligent, whether

 15     their fees and costs incurred were reasonable and

 16     for the genuine benefit of the company.                All of that

 17     would be encompassed in an R&R to Judge Marrero.

 18                 I will not touch the issue of the piercing

 19     the corporate veil.        I'll wait for Mr. Kushner to

 20     provide any supplemental authority you'd like.

 21     Given that this seems to be an issue that's somewhat

 22     novel, at least in this procedural context, I'm

 23     happy to give you as many pages as you want to brief

 24     it.     And then when that comes in, I can give you as

 25     much time as you'd like to respond to it.


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 30 of 30
                                                                      65



   1                MR. MALONEY:     Thank you, Your Honor.

   2                THE COURT:     The one category that we

   3    haven't touched is this -- these separate letter

   4    motions that came in concerning the redacted or

   5    sealed attorney invoices.          I can point you to the

   6    relevant ECF numbers, but my recollection of this is

   7    that the receiver filed the attorney invoices under

   8    seal with certain redactions, and Shi is opposing

   9    them being maintained under seal.

 10                 We reviewed the invoices, and you're

 11     certainly correct, and there's ample case law in the

 12     circuit that says you can -- you know, to the extent

 13     the -- revealing the nature of the -- revealing the

 14     description of the billing would reveal legal

 15     strategy, the motivation for the client to hire the

 16     attorney.     Something of substance that's privileged,

 17     that gets redacted.        But in our review of the

 18     invoices, there seemed to be some things that

 19     were -- that did not fall into that category.                  And

 20     so I'm just flagging it for you that, for resolution

 21     of that issue, it's likely that you're not going to

 22     be able to keep all the invoices under seal, that

 23     it's going to require some more narrowly tailored

 24     redactions to the descriptions of the work, that it

 25     would actually reveal, you know, privileged -- the


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 31 of 31
                                                                       65



   1    substance of privileged communications, the

   2    motivations for the attorneys' retention or legal

   3    strategy, something that's tied to the actual

   4    attorney work product provided as opposed to --

   5    there were some that just seem like you could --

   6    there wouldn't be disclosure of that type of

   7    information if it wasn't -- if it was disclosed.

   8                Does that make sense?

   9                MR. KUSHNER:     Yes.

 10                 THE COURT:     Okay.     So since this is the

 11     approach I think we've all, sort of, settled on, on

 12     the reasonableness of these expenses, the parties

 13     briefed this, so I didn't really have any questions.

 14     I'm happy to hear from anyone if you want to touch

 15     upon it, but really the main question was this idea

 16     of piercing the corporate veil.

 17                 MR. KUSHNER:     With respect to the -- just

 18     in terms of the sequence of events, Your Honor --

 19                 THE COURT:     Yes.

 20                 MR. KUSHNER:     -- can we submit the

 21     supplemental brief on the piercing issue after we've

 22     seen your report and recommendation?

 23                 THE COURT:     Yes, because I do think it

 24     makes sense depending on the outcome.                If you don't

 25     want to expend the fees to do that, that seems


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 32 of 32
                                                                      65



   1    perfectly reasonable.

   2                The one thing I forgot to mention also

   3    related to the reasonableness of the attorney fees

   4    is -- so the invoices include attorney initials, or

   5    what I'm assuming are attorney initials.                Perhaps

   6    there might be some paralegal initials.               But there

   7    was no -- I looked at the various declarations, but

   8    there's no declaration that explains, like, you

   9    know -- I don't -- I'm going to take initials.                     So,

 10     like, JEW was a senior associate with X level of

 11     experience and something to justify the hourly rate.

 12                 We looked back -- I know some of these

 13     expenses had been previously approved in various

 14     orders by Judge Marrero that were filed under seal

 15     in the vault.       We pulled those, and for some of

 16     them, the underlying invoices, we couldn't find.                     So

 17     either they were maintained in chambers and have

 18     since -- we couldn't get a hold of them.                And for --

 19     and then for, I think, one or two that we saw, there

 20     still wasn't an explanation as to, you know, this

 21     initial represents a partner's work, 15 years of

 22     experience, an expert in this field, et cetera;

 23     something to allow us to judge the reasonableness of

 24     the hourly rate for the individuals.

 25                 So that was something I wanted to ask about


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 33 of 33
                                                                      65



   1    because, otherwise, it becomes hard to judge whether

   2    the hourly rate is reasonable if I don't know who's

   3    performing the work, or the experience and

   4    background of the person performing the work.

   5                MR. KUSHNER:     Your Honor, we could submit a

   6    supplemental declaration explaining who the

   7    timekeepers are, what their initials are, and levels

   8    of experience and other support for the hourly

   9    rates.

 10                 THE COURT:     It doesn't -- it's -- so it --

 11     you know, I'm not trying to add on to your expenses.

 12     It doesn't have to be super complex, but I just need

 13     something to be able to say, you know, the $600 rate

 14     was attributable to a senior associate with X years

 15     of experience.       I mean, obviously, I can -- we can

 16     pull the cases, but there's -- you know, typically,

 17     what courts will say is, in this district, that type

 18     of -- those years of experience and that type of

 19     rate is reasonable.        But I couldn't -- without

 20     knowing who the person was that was charging the --

 21     for example, the $500-an-hour rate, I wouldn't be

 22     able to make that reasonableness determination.

 23                 MR. KUSHNER:     Okay.     So we will submit

 24     something.     Could it be just a letter?

 25                 THE COURT:     Yes.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 34 of 34
                                                                       65



   1                MR. KUSHNER:     Okay.

   2                THE COURT:     Yeah.

   3                MR. KUSHNER:     Thank you.

   4                MR. MALONEY:     Your Honor, one more point on

   5    that issue, specifically the reasonableness of the

   6    pre-October 5, 2020 expenses.            I think Your Honor

   7    has pretty comprehensively addressed the issues

   8    relating to the professional fees that are claimed,

   9    but some of the records submitted yesterday also

 10     relate to that period.        Some of these records relate

 11     to the expenses that Mr. Guo was claiming

 12     reimbursement for.        And although these voluminous

 13     records were filed yesterday, we've identified some

 14     issues that we're concerned about.

 15                 So, for example, some of these records

 16     appear to show transfers out of the same China

 17     Merchants Bank account that Guo claimed was empty

 18     when he obtained control of it.             So, for example,

 19     this is page 22 of ECF 448-2.            Appears to show a

 20     transfer out of that China Merchants Bank account on

 21     September 24, 2020 for airfare.             There's no

 22     supporting documentation for what that airfare was

 23     necessary for.       Guo has stated in numerous papers

 24     that that account was empty when he obtained control

 25     of it, but he's now claiming reimbursement for funds


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 35 of 35
                                                                      65



   1    transferred out of that account.             He's also stated

   2    in papers that he never submitted -- or, I'm sorry,

   3    deposited into that account the 1.5 million he

   4    claims to have lent to the receivership.

   5                There's another issue that we found.               This

   6    is at --

   7                THE COURT:     Actually, Mr. Maloney -- and

   8    this might be a question for the receiver.                 But in

   9    the Seiden declaration, I thought there was a

 10     paragraph -- I believe it's 40 -- the receiver's

 11     accounting does not include Mr. Guo's fees and

 12     expenses because he had been disappeared, but he was

 13     gone for a while.

 14                 MR. MALONEY:     That is a good point,

 15     Your Honor, and it's a little unclear what's going

 16     on here.     The receiver has claimed certain expenses

 17     in his November 2022 accounting.             It appears that

 18     one position they may be taking is that all the

 19     expenses claimed by Guo for that period are

 20     reasonable because they were converted into Class B

 21     shares of LKM.       And so I think that's an issue that

 22     needs to be part of this decision of what's broken

 23     up into these periods.

 24                 THE COURT:     But --

 25                 MR. MALONEY:     In other words, would your


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 36 of 36
                                                                      65



   1    decision address only the expenses claimed by the

   2    receiver in his November 18 accounting for that

   3    period and leave open the issues as to whether

   4    Guo's -- the shares issued to Guo for claims for

   5    that period are reasonable and necessary?

   6                THE COURT:     But wasn't that already

   7    approved as part of a note agreement by

   8    Judge Marrero?

   9                MR. MALONEY:     Judge Marrero approved that,

 10     but also as part of that approval, directed that

 11     copies of those papers be served on counsel,

 12     including me.       They were not.      And so that was

 13     essentially an ex parte application that we've never

 14     had an opportunity to contest until now, until

 15     Your Honor ordered that those papers be unsealed.

 16     This is the first opportunity we've had to address

 17     those issues.

 18                 THE COURT:     But I'm just --

 19                 MR. KUSHNER:     Your Honor, I -- and I

 20     actually, kind of, agree with counsel for Shi to

 21     some extent on this.        After the accounting was

 22     submitted, we disclosed the note agreement, and

 23     Shi's counsel filed papers essentially seeking to

 24     undo the issuances of shares to Mr. Guo on the basis

 25     that there were irregularities with his expenses, so


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 37 of 37
                                                                      65



   1    on and so forth.       And actually, Judge Marrero, in

   2    response to that, said that the issue of Mr. Guo's

   3    expenses is going to be determined by Your Honor in

   4    connection with the accounting.

   5                So even though Mr. Guo's expenses were not

   6    included in the accounting as originally submitted

   7    last year, we've now supplemented the record just in

   8    the last few days to include documentation of

   9    Mr. Guo's expenses.        And it appears that

 10     Judge Marrero is envisioning that Your Honor will

 11     review those expenses as well for reasonableness.

 12                 THE COURT:     So let me just make sure I'm on

 13     the same page with everyone.

 14                 ECF 448 is what the receiver filed on

 15     June 26th with the certified translation of expenses

 16     from 2019 through 2021, and those are the ones you'd

 17     like me to review as part of this accounting to

 18     determine whether they were appropriately incurred

 19     by Mr. Guo?

 20                 MR. KUSHNER:     Yes.     And in addition to 448,

 21     there's Mr. Guo's affidavit; 443, I believe.                 Or,

 22     I'm sorry, 443-7, which provides Mr. Guo's

 23     description of what he was doing and why he was

 24     incurring those expenses.           So it should be read

 25     together with Mr. Guo's -- that declaration and all


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23     Page 38 of 38
                                                                         65



   1    other declarations submitted by Mr. Guo.

   2                THE COURT:     Okay.     And...

   3                MR. MALONEY:     Your Honor, if I may respond.

   4                THE COURT:     Yes.

   5                MR. MALONEY:     So I believe the order by

   6    Judge Marrero that we've been discussing is at

   7    Docket 440, and I believe -- I mean, the order

   8    speaks for itself.        Your Honor will have an

   9    opportunity to consider that.

 10                 I agree with Mr. Kushner that I -- it

 11     appears that Judge Marrero is envisioning that the

 12     particular issue of awarding to Guo Class B shares

 13     of LKM as reimbursement for these claimed expenses

 14     is an issue that he would like Your Honor to decide.

 15     Some of those expenses do relate to the

 16     pre-October 5, 2020 period.

 17                 And so what I would submit is that we break

 18     it up into different parts, right.                  So Your Honor

 19     could address the professional fees included in the

 20     original November 2022 accounting for that period as

 21     one discrete issue, and then address the issue of

 22     Guo's, you know, reimbursement through shares as a

 23     separate issue.       And I think that's necessary here

 24     because we haven't really had a chance to fully

 25     respond to the paper submitted yesterday.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 39 of 39
                                                                       65



   1                THE COURT:      Well, no, I think it's

   2    necessary for a lot of reasons, but, certainly,

   3    again, you know, the -- there's voluminous -- just

   4    looking at the June 26th submission, it's quite

   5    voluminous.        And it really wasn't touched upon, for

   6    obvious reasons, because it wasn't part of the

   7    accounting sought in November of 2022.                So there's

   8    no way I can give you a decision on that without any

   9    type of -- you know, I'm going to call it briefing,

 10     but it may not -- you know, we're just -- it may not

 11     come to a full-on briefing because, again, I don't

 12     need people to incur unnecessary expenses, but I

 13     need more than just the one-page letter with all the

 14     receipts in English, right, just to understand them

 15     because, for instance, you point out the airfare,

 16     you know, how am I supposed to tell you that's a

 17     reasonable expense without any context?

 18                 So I think the approach that we've talked

 19     about, which, again, I'm happy to work with the

 20     parties, so if there's some other approach that you

 21     think is more efficient, you should definitely let

 22     me know.     But I can give you -- I can give you an

 23     order on the accounting, as requested, in November

 24     of 2022, which involved just Seiden Law Group's

 25     expenses, right?        Because you didn't seek the -- you


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 40 of 40
                                                                      65



   1    didn't seek recovery of Guo's expenses.

   2                MR. KUSHNER:     That's right.         It was

   3    primarily Seiden Law, but other --

   4                THE COURT:     Right.     I know there was

   5    Kobre & Kim and various other entities, but,

   6    basically, the motion doesn't mention -- and, in

   7    fact, it's clear that you're not seeking an

   8    accounting of Guo's fees and expenses, so I can give

   9    you an answer as to that.           We're going to separately

 10     touch upon, once you see the decision on that,

 11     potentially, the piercing the corporate veil

 12     argument.     And then we should potentially discuss

 13     how you want to touch this issue of Guo's expenses.

 14                 MR. MALONEY:     I -- that sounds like a

 15     reasonable approach to me, Your Honor.

 16                 And then with respect to Guo's expenses,

 17     obviously, the papers are voluminous.               We've

 18     identified a few issues, but we will need some time

 19     to address that.       We -- some of our prior briefing

 20     before Marrero has touched on some of these issues,

 21     which resulted in Docket 448, so some of that is

 22     already on the record.        You know, I think we'll just

 23     need some time to prepare a response to what was

 24     filed yesterday.

 25                 THE COURT:     So why don't we do this, to the


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 41 of 41
                                                                       65



   1    extent you're just relying on things previously put

   2    in the record, you can just point me to the ECF

   3    citation.     You don't have to restate it.              But if you

   4    just could, you know, make it easier and just tell

   5    me where you want me to go look for your arguments,

   6    I can certainly go do that.

   7                Mr. Maloney, I'm happy to give you as much

   8    time as you need.

   9                And then if you'd like a response,

 10     Mr. Kushner, I'm happy to give you as much time on

 11     that.

 12                 MR. KUSHNER:     Yes, Your Honor, we would

 13     like an opportunity to respond.             And I think this

 14     procedure makes sense in the sense that Mr. Shi's

 15     counsel should submit objections to the expenses

 16     that Mr. Grove has submitted, and then we can

 17     respond as objections.

 18                 THE COURT:     Right.     Does that work for

 19     everyone?

 20                 MR. MALONEY:     Yes.

 21                 MS. FELICELLO:        May I ask you -- sorry.

 22                 THE COURT:     Yes.

 23                 MS. FELICELLO:        This is Roseanne.

 24                 The one thing -- as Your Honor mentioned,

 25     we don't have a lot of the backup for these


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 42 of 42
                                                                      65



   1    invoices, so we'll have airfare as an invoice, but

   2    we won't have any context for why the airfare was

   3    incurred.     Also, lots of hotel expenses with no

   4    backup for why it was incurred.            So I think it makes

   5    more sense to have the receiver's office put in some

   6    explanation as to why they claim these expenses are

   7    legitimate before -- otherwise, you know, there just

   8    is no basis.       So I think they should have to make a

   9    submission first that we then respond to.

 10                 THE COURT:     Well, for, I guess...

 11                 MR. MALONEY:     An alternative, Your Honor,

 12     is if we provide the first response to the paper

 13     submitted yesterday, the receiver provides an

 14     opposition or something of further support, and then

 15     we provide some sort of a reply.

 16                 THE COURT:     Well, the other thing I was

 17     just thinking is -- I think what Mr. Kushner had

 18     indicated was, it's not just the submission at 448

 19     from yesterday, but it's also Guo's declaration at

 20     443, which taken together, could potentially explain

 21     the expenses at 448.        So I think I would -- I guess,

 22     for purposes of raising your objections, I would

 23     look at 448 and Guo's declarations at -- certainly,

 24     at 443-7, which is the one you pointed to, and then

 25     you obviously know the record better, so if there's


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 43 of 43
                                                                       65



   1    any other Guo declaration where he explains his

   2    expenses.

   3                MR. KUSHNER:     Yeah.

   4                THE COURT:     I'm happy to give you as much

   5    time as you want on these objections.                And then

   6    again, I'm happy to give you a reply.

   7                MR. MALONEY:     Thank you.        Thank you, Your

   8    Honor.    I think we can work out a briefing schedule

   9    together.

 10                 MR. KUSHNER:     Yes.

 11                 THE COURT:     The only thing before you end

 12     up going -- the only thing I forgot to ask was the

 13     issue I brought up with regards to the invoices for

 14     Seiden Law Group.        You have the same sort of problem

 15     with Kobre & Kim, where I think, there, they gave me

 16     a flat rate for the associate and a flat rate for

 17     the partner.       But for instance, the partner is

 18     easier for obvious reasons.           But for the associate,

 19     you know, I think it -- I think the flat rate was

 20     something around 600.        But that might be reasonable

 21     for a senior associate.           Might not be so reasonable

 22     if it's a junior associate billing at that rate.                    So

 23     I just need to know for the entries, you know, the

 24     level of experience that I'm dealing with to assess

 25     whether the rate is reasonable.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 44 of 44
                                                                       65



   1                MR. KUSHNER:     So it's Seiden Law and

   2    Kobre & Kim?

   3                THE COURT:     Right.     So I think the two --

   4    and the receiver's Cayman Island counsel, KSG.

   5                MR. KUSHNER:     Okay.

   6                THE COURT:     And this doesn't have to be

   7    complex, just a declaration or a letter that

   8    explains, like, these initials correspond to this

   9    person and this person's years of experience.

 10                 MR. KUSHNER:     Understood, Your Honor.

 11                 MR. MALONEY:     Okay.

 12                 MR. KUSHNER:     We'll do that.

 13                 THE COURT:     So why don't we do this, I'll

 14     work on getting you the R&R, as we discussed, based

 15     off of the November 2022 accounting.                In the

 16     meantime, if the parties want to meet and confer and

 17     come up with a briefing schedule on Guo's expenses,

 18     or Guo's expenses, and a briefing schedule on the

 19     piercing the -- if you -- well, that actually will

 20     come later, right, once I issue the R&R.

 21                 MR. KUSHNER:     Okay.

 22                 THE COURT:     Did I miss anything?

 23                 MR. KUSHNER:     No, Your Honor.

 24                 THE COURT:     Okay.

 25                 MR. KUSHNER:     That's it.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 45 of 45
                                                                       65



   1                MR. STRAW:     Just to clarify the briefing

   2    schedule on the piercing the corporate veil, do you

   3    anticipate that coming after resolution of Guo's

   4    expenses as well?        Because, obviously, if there is

   5    an issue with the shares, then there's the question

   6    of what happens with that.           Just a sequencing

   7    question.

   8                THE COURT:     Yeah, no, that's makes a --

   9    that's a good point, although --

 10                 MR. MALONEY:     From my point of view,

 11     Your Honor, I -- sorry.           I didn't mean to interrupt.

 12                 THE COURT:     No.

 13                 MR. MALONEY:     From my point of view, if the

 14     shares were validly issued, then they came from the

 15     estate to the corporation, and if they were not,

 16     then they can simply be canceled.              So I'm not sure

 17     those would necessarily impact plaintiff, but I may

 18     need to give that a little bit more thought.

 19                 THE COURT:     I just -- I read the -- I don't

 20     know the note agreement provides for something other

 21     than the -- so if he doesn't get reimbursed through

 22     the issuance of shares, I don't know if there was

 23     ever some type of other recovery, like, discussed.

 24                 MR. MALONEY:     Yeah.      We will, obviously,

 25     identify our prior papers, but from our point of


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 46 of 46
                                                                       65



   1    view, repayment was contingent upon an event

   2    happening that never occurred, and so Guo was never

   3    entitled to repayment.        We've briefed that, and I

   4    won't go into depth about that here because I know

   5    you really haven't had a chance to review that, but

   6    we'll identify that in the papers.

   7                THE COURT:     So, I guess, to answer

   8    Mr. Straw's question, it sounds like, potentially,

   9    it might make sense to address Guo's expenses first

 10     before doing the piercing the corporate veil.                   I

 11     don't know if you -- if --

 12                 MR. KUSHNER:     Yeah, because I think it

 13     doesn't make sense to talk about piercing until we

 14     know what liabilities are out there.                You may, for

 15     example, find that only a certain portion of Guo's

 16     expenses are reimbursable.

 17                 THE COURT:     Sure.

 18                 MR. MALONEY:     Your Honor, could I ask a

 19     point of clarification?           I'm sorry.

 20                 THE COURT:     It's okay.

 21                 MR. MALONEY:     Your Honor brought up the

 22     issues with the invoices and attorney fees and time

 23     entry and things like that.           Will we have an

 24     opportunity to review the portions that are unsealed

 25     even on, like, an attorneys' eyes only basis?


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 47 of 47
                                                                       65



   1    Because we, obviously, haven't had a chance to

   2    review them.

   3                THE COURT:     Yeah.     So my understanding --

   4    and you should correct me if I'm wrong -- was that

   5    all the invoices were filed under seal.                And I think

   6    what I had indicated was that that was too broad,

   7    and you're going to have to submit redactions.

   8                MR. KUSHNER:     Okay.

   9                THE COURT:     So you'd be able to see

 10     everything that's unredacted because it wouldn't

 11     lead to the discovery of, like, either privileged

 12     information or information that relates to a legal

 13     strategy or anything of that sort.

 14                 MR. MALONEY:     Right.      Okay.

 15                 THE COURT:     But to the extent they have a

 16     valid redaction that would reveal something like

 17     legal strategy or why an attorney was retained, I

 18     think there's ample Second Circuit case law that

 19     says that's -- that would still remain redacted and

 20     privileged.

 21                 MR. MALONEY:     Okay.      Thank you.

 22                 MR. KUSHNER:     Yeah, just -- I'm told that,

 23     Your Honor, Mr. Guo did not fund any portion of

 24     Seiden Law's initial retainer in terms of the start

 25     of this case.       It was the shareholders, different


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 48 of 48
                                                                       65



   1    people, not Mr. Guo, just to respond to that

   2    contention from a few minutes ago.

   3                THE COURT:     Okay.     Is there anything else

   4    either side wants to raise?

   5                MR. KUSHNER:     Yeah, just, sort of, a

   6    philosophical point, Your Honor.

   7                The receiver is an officer of the court.

   8    The receiver is not a party to this case.                 We

   9    believe that everything that the receiver's office

 10     has done has been -- everything material has been

 11     approved by the Court.        We've gone out of our way to

 12     notify the Court of everything that we were doing.

 13     It seems as if, recently, the receiver's office is

 14     being treated like a party.           I'm thinking

 15     specifically of Judge Marrero ordering us to pay out

 16     of pocket for the cost of the translation of some of

 17     the invoices that we -- you know, the

 18     Chinese-language invoices.

 19                 THE COURT:     Was this at 440 or --

 20                 MR. KUSHNER:     Yes.

 21                 THE COURT:     Okay.

 22                 MR. KUSHNER:     I just wanted to just note

 23     that for the record.        And it's really -- you know,

 24     it's an unfunded receivership at this point.                   We are

 25     working without any kind of compensation, so just


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 49 of 49
                                                                       65



   1    want to note that for the record.              And to the extent

   2    we're being asked to put together submission after

   3    submission after submission, we just don't want the

   4    Court to lose sight of the fact that this is really

   5    an unfunded receivership.

   6                Yeah, my colleague wants to add a point.

   7                THE COURT:     Sure.

   8                MR. ZHANG:     Your Honor, this is Xintong

   9    Zhang on the record.        I just want to -- following up

 10     with Mr. Kushner's question about the cost because

 11     in order to respond to -- I'm assuming in order to

 12     respond to Maloney -- Mr. Maloney's response on

 13     behalf of Shi, we have to provide even more

 14     additional document to be translated from Chinese

 15     language to English being certified translated.

 16                 For example, we probably need to translate

 17     Mr. Shi's action in China in late 2019 against

 18     illegal shareholder meeting resolution before

 19     Chinese court that's, kind of, caused receivers

 20     additional work in response to that type of claims,

 21     the similar claims, kind of -- again, at least,

 22     like, five to six, to my best of recollection, that

 23     can -- receiver needs to be additional cost and

 24     expenses to provide that translation to be certified

 25     translated as well.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 50 of 50
                                                                      65



   1                THE COURT:     Is there something you want

   2    to -- is there something you propose instead?

   3                MR. KUSHNER:     Well, we -- you know, if we

   4    feel that, in order to respond to some of the

   5    objections which come out of the process that the

   6    Court has just ordered, we need to incur massive

   7    out-of-pocket expenses for things like translation.

   8    And we would ask for Mr. Shi to contribute to that,

   9    you know, especially because he's the one

 10     challenging these expenses.

 11                 You know, it's just a very unjust situation

 12     that a court-appointed receiver who's not a party is

 13     effectively being asked to go out of pocket to cover

 14     the cost of the defendant's objections to the

 15     receiver's expenses.        It's just -- frankly, it's --

 16     we're not aware of any precedent for this, that a

 17     court orders a receiver to go out of pocket to

 18     conduct the functions of the receivership.

 19                 THE COURT:     So I -- that's a fair point,

 20     and I'm certainly not trying to have you incur more

 21     expenses than you've already incurred, but to the

 22     extent we're talking about responding to -- for

 23     instance, just in this limited -- because it sounds

 24     like where you're going to -- might potentially have

 25     to incur more expenses is responding to the


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 51 of 51
                                                                       65



   1    objections of Guo's, or Guo's, expenses.

   2                Is there -- this might just be simple if

   3    you can just point me to any case that says that, in

   4    such circumstances, the court-appointed receiver

   5    shouldn't go out of pocket for those expenses.

   6    Since you said you're aware of no precedent where

   7    it's the case that the court would require the

   8    receiver to incur those costs, can you point me to

   9    any case that would say that?

 10                 MR. KUSHNER:     Well, Judge Marrero, sort of,

 11     touched on this in his order on the translation

 12     issue, and he said that the receiver can bring a

 13     motion for reimbursement, that -- as we read

 14     Judge Marrero's order, he thinks this is a serious

 15     issue and that -- he cited Rule 37.

 16                 THE COURT:     Yeah.

 17                 MR. KUSHNER:     But again, you know, we have

 18     to go out of pocket and then file -- bring a motion.

 19     And, of course, we're -- the legal fees incurred in

 20     preparing a motion for reimbursement of attorneys'

 21     fees are themselves unfunded.            So it's -- it puts us

 22     in a difficult position, Your Honor.                But we could

 23     search for alternative authority, but I do think

 24     Judge Marrero has spent a fair bit of time on this

 25     issue.


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23   Page 52 of 52
                                                                       65



   1                THE COURT:      So I have Judge Marrero's order

   2    at page 3, where he talks about the proper procedure

   3    is not through an advance, right, but through the

   4    motion for reimbursement after these costs are

   5    incurred.

   6                MR. KUSHNER:      He did say that, and he cited

   7    some cases.        I don't think any of the cases he

   8    cited, though, Your Honor -- respectfully, I don't

   9    think any of them are dealing with court-appointed

 10     receivers.

 11                 MR. MALONEY:      Your Honor, from our point of

 12     view, this goes back to the nature of this

 13     particular proceeding, which is a hearing to

 14     determine the accounting, the receiver, and in our

 15     view, the law is clear that it's the receiver's

 16     burden to justify his account.             We think there's

 17     plenty of federal precedent on that.                There's

 18     numerous cases on that issue, and the receiver can,

 19     basically, seek reimbursement from the company, if

 20     he can justify that cost, or from the plaintiff who

 21     obtained the receivership.           We touched on that issue

 22     earlier.     That's our view of the case.             Obviously,

 23     Judge Marrero -- I'm sorry -- view of that

 24     particular issue.

 25                 Judge Marrero stated what he stated in


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 53 of 53
                                                                      65



   1    Document 440.       I do tend to agree with Mr. Kushner

   2    on the point that the cases cited there are not

   3    really directly on point with the fact scenario we

   4    have here.     We think the case law regarding the

   5    receiver's burden to justify his account is the

   6    appropriate authority to look to.

   7                The other issue to think about here is that

   8    the receiver is right now, on that issue, justifying

   9    the account of Mr. Guo, and so Mr. Guo should bear

 10     that cost as well.

 11                 THE COURT:     So, Mr. Kushner, I want to

 12     understand exactly what you would envision here.

 13     So -- and I don't mean to suggest because I'm not

 14     open to some other process.          I just -- I want to

 15     understand what would make you -- or what would

 16     potentially be an outcome that would not require the

 17     receiver to continue incurring unfunded expenses.

 18                 So in your -- under your rubric, you

 19     wouldn't want to have to -- or you don't want an

 20     opportunity to, for instance, respond to whatever

 21     Mr. Maloney files, objecting to the filing on Guo's

 22     expenses, or if you are objecting, you would want at

 23     least a portion, if not half of the cost or

 24     something -- some cost-splitting with Mr. Shi?

 25                 MR. KUSHNER:     So here's what I propose, I


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 54 of 54
                                                                      65



   1    think a distinction should be made between legal

   2    fees and out-of-pocket costs.           It's the

   3    out-of-pocket costs that we're really concerned

   4    about.    If he's objecting to Mr. Guo's expenses and

   5    he's requiring us to go out and get translations of

   6    all these Chinese-language documents, hundreds of

   7    pages, or thousands of pages, and we have to go out

   8    of pocket, as we already have, and then the Court

   9    later determines that all those expenses were

 10     reasonable and overrules his objections, the concern

 11     we have is that if we then bring a motion for

 12     reimbursement of our expenses, his client could just

 13     disappear and we'd have no way of ever recovering

 14     those out-of-pocket costs.          We don't know where his

 15     client is.     It's not -- his client is not here.

 16     He's never appeared in this court.

 17                 So what we would propose is that he submit

 18     an amount in escrow in the amount of the

 19     out-of-pocket costs that the receiver has to incur

 20     in responding to his objections.

 21                 THE COURT:     But only the costs related to

 22     things like translation services, not legal fees.

 23                 MR. KUSHNER:     That's correct.         I think if

 24     we're going to talk about legal fees, you know, it

 25     would be in the several millions of dollars, and


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451    Filed 07/13/23     Page 55 of 55
                                                                          65



   1    perhaps we can get that -- get to that at a later

   2    stage, you know, when we're dealing with the

   3    piercing of the corporate veil.              But at this point,

   4    we're most concerned with the out of pocket.

   5                THE COURT:      And let me just ask you -- that

   6    was not a proposal you gave to Judge Marrero when he

   7    issued -- before he issued 440, the ECF order --

   8    order at ECF 440?

   9                MR. KUSHNER:      It was not.            This is the

 10     first time.        You -- because you invited me to make a

 11     proposal, and this is -- yeah.

 12                 THE COURT:      I just want to make sure it

 13     wasn't something he rejected.

 14                 MR. KUSHNER:      It was not.

 15                 THE COURT:      Okay.

 16                 MR. KUSHNER:      We didn't ask.            We did ask

 17     that Shi be ordered to pay those expenses, but we

 18     didn't propose this specific mechanism of putting

 19     them in escrow.

 20                 THE COURT:      Right.     Mr. Maloney, did you

 21     want to respond, or is it just the same response you

 22     had given before?

 23                 MR. MALONEY:      Basically, yes, Your Honor.

 24                 THE COURT:      Okay.

 25                 MR. MALONEY:      It's probably another issue


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 56 of 56
                                                                       65



   1    that should be briefed, unfortunately.

   2                THE COURT:     And this -- let me just --

   3    ECF 440, does anyone happen to remember the letter

   4    motions or the briefs that led to ECF 440?                  Because

   5    rather than brief another issue, it sounds like this

   6    was potentially -- other than this unique escrow

   7    agreement proposal, it sounds like this was already

   8    all before Judge Marrero.

   9                MR. MALONEY:     Judge Marrero does cite some

 10     of the relevant docket entries in 440.                So on page 1

 11     and 2 --

 12                 THE COURT:     Okay.

 13                 MR. MALONEY:     -- he identifies some of the

 14     prior papers.       I'm not sure if this includes all of

 15     the letters submitted, but it's a good start.

 16                 THE COURT:     Okay.     So maybe before we go

 17     ahead and order any more briefing, I will take a

 18     look at the documents that Judge Marrero references

 19     to make sure, and I will hold off on giving you a

 20     decision about this potential escrow until I look at

 21     that.    And if I need anything else, I'll reach out.

 22     But I'll -- I'm going to definitely give you a

 23     decision as to, before we tackle Guo's expenses at

 24     448, how that cost will be allocated, or whether

 25     we're going to talk about potentially funding an


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 57 of 57
                                                                       65



   1    escrow.

   2                MR. KUSHNER:     Thank you, Your Honor.

   3                THE COURT:     Is there anything else you

   4    wanted to raise, or...

   5                MR. KUSHNER:     No.     Thank you, Your Honor.

   6                THE COURT:     Mr. Maloney?

   7                MR. MALONEY:     Not at this time.           We had

   8    prepared responses to the questions you had stated

   9    in Docket 434, but it sounds like we'll address

 10     those later.

 11                 THE COURT:     Oh, you wanted to reply to what

 12     Mr. -- what the receiver had submitted?

 13                 MR. MALONEY:     Yes.     Essentially, yes, but

 14     now that we're --

 15                 THE COURT:     Because I think their letter

 16     came in on Friday was the nine-page letter?

 17                 MR. MALONEY:     Right.      Right.

 18                 THE COURT:     If you'd like to respond now,

 19     I'm certainly happy to hear you out.

 20                 MR. MALONEY:     Okay.      Well, I mean, we've

 21     touched on some of the issues; for example, the

 22     Greenberg payment and things like that.                In that

 23     letter, the receiver, you know, proposed or

 24     submitted a response to your question about the

 25     failure to account for the "onshore entities."


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF    Document 451   Filed 07/13/23     Page 58 of 58
                                                                         65



   1                I touched on this earlier.               Their story has

   2    changed throughout the case, right?                  They, for most

   3    of the case, claimed that Guo never had control of

   4    these entities.        But now, in the June 23rd

   5    declaration, he admits to having control of those

   6    entities and what we've referred to as Beijing

   7    Technology and what they referred to as Beijing

   8    Tianxia.     I'm sure I'm not pronouncing that

   9    correctly.

 10                 But he's had control of those entities

 11     since 2019, but the receiver never accounted for

 12     those entities in the November 2018 -- I'm sorry --

 13     2022 accounting, and they haven't accounted for them

 14     in that February -- I'm sorry -- June 23rd

 15     submission.        And I think the clearest evidence of

 16     that is the fact that they've submitted this

 17     cherrypicked record from the China Merchants Bank

 18     account.     They've not produced the entire records of

 19     the account, and we've been able to identify at

 20     least a few transactions where Guo has made

 21     transfers out of that account.

 22                 We have submitted previously, at Docket

 23     394-6, page 3 to 4, public records from China

 24     showing that Beijing Technology, Beijing Tianxia,

 25     holds interest in other companies.                  You know,


                   AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 59 of 59
                                                                      65



   1    Mr. Guo has had control of that entity since July

   2    2019 and has failed to account for its interest in

   3    those other entities.        Guo's submission from

   4    yesterday also includes records relating to -- well,

   5    let me back up a little bit.

   6                The November 2022 accounting submitted by

   7    the receiver disclosed funds that the receiver

   8    received from an account at Standard Chartered Bank

   9    in the name of, I believe, NQ Infinity.               I know

 10     there's a question about the name, but I believe

 11     it's what the receiver calls NQ Infinity.                We, now,

 12     know that Mr. Guo has had access to a China

 13     Merchants Bank account held in the name of

 14     NQ Infinity.       And the papers submitted yesterday

 15     revealed that there is a third account at Industrial

 16     and Commercial Bank of China held in the name of

 17     NQ Infinity.       This was not disclosed until

 18     yesterday.     And this is at page 132 of ECF -- I'm

 19     sorry.    I apologize.      I'm getting tired.

 20                 This is at Page 132 of Docket 448-2.               This

 21     is one of the transfers that Mr. Guo is claiming

 22     reimbursement for.        That account has not been

 23     accounted for.       That bank account has not been

 24     accounted for.       It's an -- should be an asset of the

 25     estate.     We don't know anything about it.             And


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23     Page 60 of 60
                                                                        65



   1    whatever was in there, the transactions that

   2    occurred in that account, they should be justified

   3    as made for the purpose of the receivership.

   4                There were some cash transactions disclosed

   5    in the papers yesterday.          No explanation of where

   6    this cash came from.        There's reference to an

   7    agreement with a third party here.                 This is page 143

   8    of Docket 448-2.       Again, no explanation for that.

   9    If the cash belonged to the company, or if it was

 10     supposedly spent on a legitimate receivership

 11     purpose, there should be a record of that, an

 12     explanation, and support for that.

 13                 Guo now admits in his June 23rd declaration

 14     that he did receive a majority of the shares of

 15     Beijing Technology/Beijing Tianxia.                 That was the

 16     primary operating company Velcm, before the

 17     receivership was appointed.          That's the company that

 18     actually held the technology licenses and operated

 19     the business.       Guo now owns that majority.

 20                 He cites to an arbitration award as a basis

 21     for the transfer of shares to his own personal name,

 22     but Dr. Shi was not a party to that arbitration.

 23     The respondent in that arbitration was Lingyun Guo,

 24     the wife of Henry Lin, who is a party aligned with

 25     Mr. Guo, and they essentially reached a settlement


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 61 of 61
                                                                      65



   1    where they would agree to transfer the shares to

   2    Mr. Guo personally.        There's no evidence of any

   3    consideration paid by Mr. Guo for that majority

   4    interest in that valuable asset.

   5                I think that covers the main points I

   6    wanted to address about the accounting, or lack of

   7    accounting, for the "onshore entities."

   8                Regarding the Tongfang note issue, the

   9    receiver repeats many of the assertions he's made in

 10     the past about Dr. Shi controlling Tongfang.                 The

 11     fundamental question on an accounting is whether the

 12     receiver performed his fiduciary duty to collect on

 13     an asset of the receivership.           The Tongfang note was

 14     an asset of the receivership.           He admits to making a

 15     demand on Tongfang for payment, but did not pursue

 16     that.    He did not commence an arbitration against

 17     Tongfang.

 18                 You know, the issue of their assertions

 19     that Dr. Shi controlled Tongfang have been litigated

 20     in the past.       We understand that.        But we want to

 21     point out a couple documents from the record that

 22     are relevant to this point.          That's Docket 394-9,

 23     Docket 269-1 at paragraph 19, subparagraph 1.                  These

 24     documents reveal the true investors in the Tongfang

 25     note.    That's Tongfang M&A Fund SP and its


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23    Page 62 of 62
                                                                       65



   1    investors, Yujiang Hai Wu, Vast Stone Limited, China

   2    Create Capital Limited and Huang Zhao Lin-Qing.

   3    These are the companies that purchased FL Mobile and

   4    agreed to pay the amounts owed under the Tongfang

   5    note.    If the receiver had commenced an arbitration,

   6    he would have learned that through the arbitration

   7    and most likely have obtained an award in favor of

   8    the company.       He did not.

   9                On the application developer accounts, this

 10     is a similar story.        The e-mails submitted and the

 11     other records previously submitted show that the

 12     receiver knew as early as 2019 that further action

 13     was required to gain access to the developer

 14     accounts.     Exhibit 5 to the June 23rd letter reveals

 15     that they even knew the name of the person, Lou

 16     Rapice, who had access to the accounts, but the

 17     receiver never followed up on that.                He never

 18     brought this to the attention of the court in four

 19     years.    We submit that that was a breach of the duty

 20     to pursue and preserve that asset.

 21                 And I think we've already addressed the

 22     other points that I wanted to raise in response to

 23     that letter.

 24                 THE COURT:     Thank you, Mr. Maloney.

 25                 Unless anyone has anything else...


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 63 of 63
                                                                      65



   1                MR. KUSHNER:     Just without responding to

   2    everything that was just said, I think a lot of what

   3    counsel just said will be addressed in the upcoming

   4    briefing.     With respect to the validity or

   5    reasonableness of Mr. Guo's expenses, we can deal

   6    with that there.

   7                Just very briefly, Your Honor, on Tongfang,

   8    I don't think that I heard on the record a

   9    representation as to whether or not Mr. Shi has any

 10     ownership or control interest in Tongfang.

 11                 THE COURT:     So the Tongfang transaction --

 12     because it's just been the subject of not only this,

 13     but there's the China AI suit involving DLA Piper.

 14     I'm very familiar with the Tongfang transaction, so

 15     that's why I didn't really think I needed -- and,

 16     again, the receiver's letter from June 23rd explains

 17     your response on that.        So I don't know that I need

 18     to hear anything else on the Tongfang transaction.

 19     I think the submission that you made last week was

 20     very thorough and cleared up any ambiguities I might

 21     have had, or confusions.

 22                 MR. KUSHNER:     Thank you, Your Honor.            Then

 23     nothing further.

 24                 THE COURT:     If you'd like to respond, I'm

 25     happy to hear you out, but I'm just -- you know, I'm


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451    Filed 07/13/23   Page 64 of 64
                                                                       65



   1    mindful that I'm not trying to keep you here to

   2    incur more costs.

   3                MR. KUSHNER:       Nothing further from us.

   4    Thank you.

   5                THE COURT:     Okay.     Anything, Mr. Straw,

   6    or...

   7                MR. STRAW:     No.     Thank you, Your Honor.

   8                THE COURT:     Thanks so much, everyone.                So I

   9    will go ahead -- as we discussed, I'll give you a

 10     decision on the accounting as envisioned based on

 11     our discussions from November of 2022 without going

 12     into Guo's expenses, or Guo's expenses and the

 13     piercing the corporate veil.

 14                 MR. KUSHNER:       Thank you, Your Honor.

 15                 THE COURT:     Thank you.

 16                 MR. MALONEY:       Thank you.

 17

 18

 19                              0o0

 20

 21

 22

 23

 24

 25


                  AMM TRANSCRIPTION - 631.334.1445
Case 1:18-cv-11642-VM-VF   Document 451   Filed 07/13/23   Page 65 of 65
                                                                      65



   1                        C E R T I F I C A T E

   2

   3            I, Adrienne M. Mignano, certify that the

   4    foregoing transcript of proceedings in the case of

   5    Baliga v. Link Motion, Inc., Docket #18-cv-11642,

   6    was prepared using digital transcription software and

   7    is a true and accurate record of the proceedings.

   8

   9

 10     Signature     ___________________________

 11                    ADRIENNE M. MIGNANO, RPR

 12

 13     Date:         June 29, 2023

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25


                   AMM TRANSCRIPTION - 631.334.1445
